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                                       8                       IN THE UNITED STATES DISTRICT COURT

                                       9                             FOR THE DISTRICT OF ARIZONA

                                      10
                                           Ronald H. Pratte,                              Case No. 2:19-cv-00239-PHX-GMS
                                      11
                                                                                          PLAINTIFF RONALD PRATTE’S
7150 East Camelback Road, Suite 285




                                      12                        Plaintiff,                SEPARATE CONTROVERTING
                                                                                          STATEMENT OF FACTS IN
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13   vs.                                            SUPPORT OF HIS OPPOSITION TO
           (480) 421-1001




                                                                                          BARDWELL’S MOTION FOR
                                      14   Jeffrey Bardwell and Fanny F. Bardwell,        SUMMARY JUDGMENT
                                      15   husband and wife,

                                      16                        Defendants.
                                      17
                                      18          Plaintiff Ronald H. Pratte submits the following Controverting Statement of Facts
                                      19   to the Statement of Facts filed by Jeffrey Bardwell and in Support of Mr. Pratte’s
                                      20   Opposition to Bardwell’s Motion for Summary Judgment:
                                      21          1.     Mr. Pratte disputes the characterization of his net worth as a “fortune” but
                                      22   otherwise does not dispute this fact.
                                      23          2.     Not disputed.
                                      24          3.     Not disputed.
                                      25          4.     Not disputed.
                                      26          5.     Not disputed.
                                      27          6.     Not disputed.
                                      28          7.     Not disputed.

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                                       1          8.     Disputed. Bardwell misrepresents the cited testimony, adding references to

                                       2   “the then applicable estate tax regime” and “it may be in Pratte’s best interest” that do not

                                       3   exist in the cited testimony. In addition, Bardwell does not cite Shisler’s complete

                                       4   answer, editing out the actual question and the context Shisler used to preface his answer.

                                       5   Shisler was asked, “Q. You don’t remember talking with Ron prior to any of the five

                                       6   guys getting their initial checks?” Shisler answered, “Ron was always, in my experience

                                       7   pretty typical, unwilling to discuss death or estate planning with either his attorneys,

                                       8   Sacks Tierney, or myself.” He then stated the testimony paraphrased in this Statement of

                                       9   Fact, before concluding with: “And we talked about his three children. And I never heard

                                      10   anything again about it until approximately January 6th.” In other words, after Mr. Pratte

                                      11   had met with the Five Guys. Accordingly, there is no direct connection between Shisler’s
                                           testimony and the asset transfer that Mr. Pratte conducted.
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                                      13          9.     Disputed. Again, Bardwell misrepresents the cited testimony to fit his
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                                      14   narrative. Shisler does not use the term “substantial gift”—the testimony is vague as to

                                      15   Shisler’s understanding. And Shisler makes it clear the term “advised” is a wild

                                      16   overstatement. Shisler was asked, “Did he explain what his plan was? I want you to cut

                                      17   these checks to these five guys and some spouses. Did he explain what he was going to

                                      18   do?” Shisler prefaced his answer with: “All he said was -- he gave me the list, the

                                      19   handwritten list, and there were a couple names on there.” If anything, the cited testimony

                                      20   makes it clear that Shisler’s involvement was minimal. In addition, when asked about

                                      21   what he told his accountant regarding the gift tax, Mr. Pratte testified: “I don’t think I told

                                      22   him to prepare anything. I just told him what I was going to do. That was his job, to

                                      23   figure out how to get it done.” (R. Pratte Dep. (8/10/20) at 22:9-16; see also id. at 32:2-

                                      24   33:24, 35:5-11, Attached as Exhibit 1.)

                                      25          10.    Disputed. All the cited testimony establishes is that Shisler had a list of

                                      26   recipients (and the fist cited testimony does not even include Shisler’s answer, just

                                      27   counsel’s question). Mr. Pratte disputes the use of the term “gift.” Shisler testified: “I was

                                      28   not aware of any contingencies, so . . . yes, they could have been acknowledged on the


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                                       1   709.” (W. Shisler Dep. at 127:15-21, Attached as Exhibit 2.) He also acknowledged that

                                       2   one can make gifts with contingencies attached and that “[c]ontingent gifts would still be

                                       3   reported on a Form 709[.]” (Id. at 110:16-111:2.) Consistent with Shisler’s limited

                                       4   involvement, he was simply unaware of the agreement between Bardwell and Mr. Pratte.

                                       5   This comports with Mr. Pratte’s testimony where he testified: “I don’t think I told

                                       6   [Shisler] to prepare anything. I just told him what I was going to do. That was his job, to

                                       7   figure out how to get it done.” (Exhibit 1, R. Pratte Dep. (8/10/20) at 22:9-16; see also id.

                                       8   at 32:2-33:24, 35:5-11.)

                                       9          11.    Not disputed that Mr. Pratte directed Shisler to obtain the checks. Disputed

                                      10   to the preface as to what Mr. Pratte “decided.” Nothing in the cited testimony accounts

                                      11   for Mr. Pratte’s intentions or decisions at the time he directed Shisler to cut the checks.
                                                  12.    Disputed. The testimony does not establish that Mr. Pratte intended to
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                                      13   surprise anyone. Mr. Pratte was asked, “Did the five fellows appear surprised -- happily
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                                      14   surprised when they opened these envelopes?” He answered affirmatively. But in

                                      15   Bardwell’s own Statement of Facts, he cites to testimony that Mr. Pratte had told

                                      16   Bardwell he would be receiving something—which was the entire reason he was invited

                                      17   on the trip to North Las Vegas. (See Bardwell’s Statements of Facts 23-25 and

                                      18   corresponding Controverting Statements of Facts below.)

                                      19          13.    Not disputed that the meeting lasted under an hour. The cited testimony

                                      20   supports that statement (as does other evidence). Disputed as to the statement that “[t]he

                                      21   Five-Guys did not know why Pratte had called the meeting[.]” In Bardwell’s own

                                      22   Statement of Facts, he cites to testimony that Mr. Pratte had told Bardwell he would be

                                      23   receiving something—which was the entire reason he was invited on the trip to North Las

                                      24   Vegas. (See Bardwell’s Statements of Facts 23-25 and corresponding Controverting

                                      25   Statements of Facts below.)

                                      26          14.    Not disputed.

                                      27          15.    Disputed. In Bardwell’s own Statement of Facts, he cites to testimony that

                                      28   Mr. Pratte had told Bardwell he would be receiving something—which was the entire


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                                       1   reason he was invited on the trip to North Las Vegas. (See Bardwell’s Statements of Facts

                                       2   23-25 and corresponding Controverting Statements of Facts below.)

                                       3          16.    Not disputed.

                                       4          17.    Not disputed.

                                       5          18.    Not disputed.

                                       6          19.    Disputed. The cited testimony never refers to what Mr. Pratte “told” the

                                       7   attendees at that meeting, let alone suggest that Mr. Pratte told the attendees that he

                                       8   would be paying “gift taxes.” Instead, in the cited testimony, Mr. Pratte explained that he

                                       9   paid the gift taxes so that the Five Guys would not have to pay taxes on the assets

                                      10   transferred to them. He does not mention whether he explained to the Five Guys which

                                      11   tax mechanism he would use to make those payments.
                                                  20.    Disputed. The cited testimony states: “I don’t know if they're medical, but I
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                                      13   have memory problems from time to time. I’m 73 years old.” Mr. Pratte did not
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                                      14   acknowledge memory “deficits.” He stated he has memory “problems from time to time.”

                                      15   At age 73, the occasional memory lapse is hardly a “deficit.”

                                      16          21.    Disputed. Anyone (at any age) who claims perfect recall of events 15 years

                                      17   in the past is either incredibly fortunate or lying.

                                      18          22.    Disputed. Bardwell tries to create a discrepancy where none exists. In the

                                      19   first set of cited testimony, Mr. Pratte describes how he must have reached an agreement

                                      20   with Bardwell prior to going to North Las Vegas. He describes a meeting that must have

                                      21   taken place with just Bardwell. The second set of testimony refers to a meeting where all

                                      22   of the Five Guys discussed a potential venture at the North Las Vegas airport. The fact

                                      23   that he called this meeting “the first meeting” suggests nothing more than the first

                                      24   meeting of the Five Guys.

                                      25          23.    Not disputed.

                                      26          24.    Not disputed.

                                      27          25.    Disputed. The testimony lacks context. Specifically, immediately before the

                                      28   quoted testimony, Mr. Pratte stated: “[Bardwell] said: I am going to work for him for life,


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                                       1   okay. . . . He said it to the group and he said it on many occasions to many people for

                                       2   many years since that time.” (R. Pratte Dep. (2/27/20) at 302:8-16 (included in Exhibit 1

                                       3   to Bardwell’s SOF)).

                                       4          26.    Disputed. Mr. Pratte did not testify that he did not remember anything he

                                       5   ever told Shisler. In the cited testimony, he was asked specifically, “So let me ask you,

                                       6   what did you tell Mr. Shisler about your decision to give away some of these monies and

                                       7   property?” Mr. Pratte did not remember which, given Shisler’s testimony, is not

                                       8   surprising. As stated in Controverting Fact #8 above, Shisler was asked, “Did he explain

                                       9   what his plan was? I want you to cut these checks to these five guys and some spouses.

                                      10   Did he explain what he was going to do?” Shisler prefaced his answer with: “All he said

                                      11   was -- he gave me the list, the handwritten list, and there were a couple names on there.”
                                           Not exactly a memorable exchange.
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                                      13          27.    Disputed as to Bardwell’s characterization of Mr. Pratte’s testimony as
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                                      14   “claimed.” In addition, disputed as to the lack of context—Bardwell does not include the

                                      15   question asked or the beginning of Mr. Pratte’s answer. The complete question and

                                      16   answer are found in Exhibit 1 at R. Pratte Dep. (8/10/20) at 35:19-36:7. The remainder of

                                      17   the fact is not disputed.

                                      18          28.    Disputed as to Bardwell’s characterization of Mr. Pratte’s testimony as

                                      19   “backtracked or qualified.” In addition, once again, disputed as to the lack of context—

                                      20   Bardwell does not include the question asked or the beginning of Mr. Pratte’s answer.

                                      21   The complete question and answer are found in Exhibit 1 at R. Pratte Dep. (8/10/20) at

                                      22   42:9-43:11.

                                      23          29.    Not disputed.

                                      24          30.    Disputed. First, disputed as to Bardwell’s characterization of Mr. Pratte’s

                                      25   testimony as “claimed.” Second, there is nothing contradictory about the two statements

                                      26   Bardwell juxtaposes. Even though Bardwell’s role in the envisioned companies was to

                                      27   work for Mr. Pratte, Bardwell would still be a partner in the businesses as one of the Five

                                      28

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                                       1   Guys. In order for the businesses to success, it was important the Five Guys “gelled.”

                                       2   Third, disputed as, based on the foregoing, this is argument, not a fact.

                                       3          31.    Disputed. Mr. Pratte did not testify that the payment of taxes was not “part

                                       4   of any bargain.” This language comes from counsel’s question, asking whether Mr. Pratte

                                       5   “negotiate[d] with them or bargain[ed] with them . . . .” In other words, the words

                                       6   “negotiate” and “bargain” were asked as synonyms. Bardwell now makes it sound like

                                       7   Mr. Pratte excluded the taxes from the agreement. Bardwell himself made clear that

                                       8   payment of the taxes was part of the agreement from the outset: “And I said it’s like

                                       9   winning the lottery. And [Mr. Pratte] says, no, it’s better than winning the lottery ‘cause

                                      10   I’m paying the taxes on it.” (J. Bardwell Dep. at 56:17-57:3, attached as Exhibit 3)

                                      11          32.    Not disputed.
                                                  33.    Disputed. In the cited testimony, Shisler was asked, “Did he explain what
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                                      13   his plan was? I want you to cut these checks to these five guys and some spouses. Did he
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                                      14   explain what he was going to do?” Shisler prefaced his answer with: “All he said was --

                                      15   he gave me the list, the handwritten list, and there were a couple names on there.” If

                                      16   anything, the cited testimony makes it clear that Shisler’s involvement was minimal.

                                      17   Furthermore, nothing in the cited testimony addresses whether Bardwell’s gift was

                                      18   contingent upon his fulfilling his contractual obligations.

                                      19          34.    Disputed. The cited testimony states only Shisler’s understanding.

                                      20   Throughout Bardwell’s Statement of Facts, he cites to testimony where Pratte testified

                                      21   that Bradwell was to be treated differently and that he had told Shisler this information.

                                      22   Indeed, after receiving the cash and real estate assets, Bardwell began work for Mr. Pratte

                                      23   and did so for more than 12 years without further payment, asking for permission for time

                                      24   off and vacation time, spending upwards of 80 hours a week and 3,000 a year working for

                                      25   Mr. Pratte. (PSOF at ¶¶ 35-36.) Half a dozen witnesses—including Bardwell’s friends

                                      26   and neighbors—have testified to the existence of a contract. Bardwell’s friend Larry

                                      27   Yonker testified, “From Mr. Bardwell’s account, [the verbal contract] was until – work

                                      28   for Ron until he died. . . . [f]or money up front.” (PSOF at ¶ 26.) Bardwell’s friend and


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                                       1   neighbor Jeff Abendschein testified that Bardwell tired of working for Mr. Pratte but

                                       2   stayed on “[b]ecause he had a contract with him. He was supposed to work for him until

                                       3   Ron passed and that was their verbal agreement.” (PSOF at ¶ 27.) When Bardwell

                                       4   showed Abendschein the $2 million check Bardwell had received from Mr. Pratte,

                                       5   Bardwell described it as “[l]ike a sign-on bonus to come work for [Mr. Pratte].” (PSOF at

                                       6   ¶ 28.) Bardwell even concedes he said to the Five Guys, “You know, could I have told

                                       7   him, hey, Ron made a life changing gift to me and I’m going to work for that man for the

                                       8   rest of my life? Could I have said that? You know, we were in opening companies. Okay.

                                       9   And my role in the company, in Stellar Development, was to -- and the other entities was

                                      10   to take care of Ron.” (PSOF at ¶ 32.) He testified that as part of the venture that stemmed

                                      11   from the assets he received, it was his job to take care of Mr. Pratte’s needs: “Ron was
                                           very -- he was very demanding upon everybody. And we all agreed that if he needed
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                                      13   something, that I would help him.” (PSOF at ¶ 33.)
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                                      14          35.     Disputed. Mr. Pratte incorporates Controverting Facts Numbers 33 and 34

                                      15   as if fully stated herein.

                                      16          36.     Disputed as to the characterization. Elsewhere, Shisler explained his

                                      17   questioning of the inclusion of Bardwell and Carriere, testifying: “I’m positive that I told

                                      18   Mr. Pratte that he would owe less tax if he could pay Mr. Bardwell’s, and Mr. Carriere’s

                                      19   too, actually, amounts as payroll. That would shift the tax liability to the individuals from

                                      20   Mr. Pratte.” (Exhibit 2, W. Shisler Dep. at 104:4-14.) Bardwell made it clear that Mr.

                                      21   Pratte’s payment of the taxes was part of the agreement: “And I said it’s like winning the

                                      22   lottery. And [Mr. Pratte] says, no, it’s better than winning the lottery ‘cause I’m paying

                                      23   the taxes on it.” (Exhibit 3, J. Bardwell Dep. at 56:17-57:3.)

                                      24          37.     Disputed. Shisler absolutely did not “reconfirm [] that Pratte was clear that

                                      25   the monies and properties were intended to be gifts with no contingencies.” In the cited

                                      26   testimony, Shisler was asked, “To your knowledge, without any contingencies on them?”

                                      27   He answered “Correct.” The testimony does not reflect Mr. Pratte’s intention. It reflects

                                      28   Shisler’s own belief. This comports with Mr. Pratte’s testimony. When asked about what


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                                       1   he told his accountant regarding the gift tax, Mr. Pratte testified: “I don’t think I told him

                                       2   to prepare anything. I just told him what I was going to do. That was his job, to figure out

                                       3   how to get it done.” (Exhibit 1, R. Pratte Dep. (8/10/20) at 22:9-16; see also id. at 32:2-

                                       4   33:24, 35:5-11.) Shisler also acknowledged that one can make gifts with contingencies

                                       5   attached and that “[c]ontingent gifts would still be reported on a Form 709[.]” (Exhibit 2,

                                       6   W. Shisler Dep. at 110:16-111:2.) Furthermore, Mr. Pratte presented an expert on

                                       7   taxation who found the 709 Form to be an appropriate mechanism for capturing the taxes

                                       8   due under the wealth transfer from Mr. Pratte to Bardwell. (See Expert Report of Tim

                                       9   Tarter, attached as Exhibit 4.)

                                      10          38.    Disputed. This statement is not a fact but argument, paraphrasing multiple

                                      11   snippets of Shisler’s testimony out of context in order to make an argument. For example,
                                           Bardwell contends that “Pratte intended the gifts to be unconditional to each of the Five-
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                                      13   Guys.” But in support of that assertion, Bardwell cites testimony where Shisler was
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                                      14   asked: ·

                                      15          Q.· ·But it was not included, as I understand your testimony, because it was
                                                  clear to you, based upon Mr. Pratte’s intentions, that these were to be outright
                                      16
                                                  unconditional gifts to the five individuals, correct?
                                      17
                                                  A. Yes.
                                      18
                                           But Bardwell hopes this Court will ignore the context—immediately before that
                                      19
                                           exchange, Shisler testified: “I was not aware of any contingencies, so . . . yes, they could
                                      20
                                           have been acknowledged on the 709.” (Exhibit 2, W. Shisler Dep. at 127:15-21.)
                                      21
                                           Accordingly, Shisler cannot, in any way, testify whether Mr. Pratte intended for his gift
                                      22
                                           to Bardwell to include any contingencies because Shisler simply was not aware of any
                                      23
                                           contingencies. He never testified that no contingency existed—let alone what Mr. Pratte
                                      24
                                           believed or intended.
                                      25
                                                  39.    Not disputed.
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                                                  40.    Not disputed.
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                                                  41.    Not disputed.
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                                       3       DATED this 16th day of February, 2021.

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                                                                          KERCSMAR & FELTUS PLLC
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                                                                   CERTIFICATE OF SERVICE
                                       1
                                                I certify that on February 16, 2021, I electronically transmitted the foregoing to the
                                       2   Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of
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                                      14   s/ Alexis Adelman

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